 Case 21-05166-grs       Doc 272-8 Filed 09/14/22 Entered 09/14/22 11:08:01       Desc
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                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION

IN RE:                                                )   Chapter 11
HDR FARMS INCORPORATED,                               )
                                            Debtor    )   CASE NO. 20-50888-GRS
                                                      )
                                                      )
HDR FARMS INCORPORATED LIQUIDATING                    )   A.P. No. 21-05166-GRS
TRUST,                                                )
                                Plaintiff             )
v.                                                    )
                                                      )
APPLIED BOTANICS LLC f/k/a XSI USA, LLC;              )
COZEN O’CONNOR; KAWEL LAUBACH; DEAN                   )
JOHNSON; ANNETTE COX; CHARLES THOMAS                  )
“TODD” MERCER; and APPLIED BIOLOGY LLC                )
                                                      )
                                        Defendants    )

                        ORDER GRANTING MOTION TO FILE
                     ADDITIONAL DEFENDANTS’ JOINT EXHIBITS

       This matter is before the Court on the Motion of Defendants, Cozen O’Connor and

Kawel LauBach to file additional and corrected exhibits. The Court, having considered the

motion, and being in all ways sufficiently advised,

       IT IS HEREBY ORDERED THAT the Motion is granted.
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TENDERED BY:

FROST BROWN TODD LLC


By: /s/ Barry D. Hunter
   Barry D. Hunter
   Adam R. Kegley
   250 West Main Street, Ste. 2800
   Lexington, Kentucky 40507-1749
   bhunter@fbtlaw.com
   akegley@fbtlaw.com
   (859) 231-0000 Telephone
   (859) 231-0011 Fax
   Counsel to Cozen O’Connor




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